CASE 0:24-cv-00001-ECT-TNL                  Doc. 115-18         Filed 12/10/24        Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

 Cheryl Sagataw, DeAnthony Barnes, Roberta                         Case No. 24-cv-0001 (ECT/TNL)
 Strong, Travis Neloms, Alvin Butcher,
 Adrian Tiger, Chance Askenette, Deven
 Caston, Lola Hegstrom, and RonDel                              NOTICE OF DEPOSITION OF
 Applebee, on behalf of themselves and all                         ENRIQUE VELAZQUEZ
 others similarly situated,
                                     Plaintiffs,
         vs.

 Mayor Jacob Frey, in his individual
 and official capacity,
                                     Defendant.

       Please take notice that Plaintiffs Cheryl Sagataw, DeAnthony Barnes, Roberta Strong,

Travis Neloms, Alvin Butcher, Adrian Tiger, Chance Askenette, Deven Caston, Lola Hegstrom,

and RonDel Applebee, on behalf of themselves and the putative class of those similarly situated,

(“Plaintiffs”) will take the deposition of Enrique Velazquez of 505 Fourth Ave. S., Room 510

Minneapolis, MN 55415. This deposition is to occur via remote videoconferencing technology,

as agreed by the parties, and will be taken before a certified court reporter authorized to

administer oaths. The parties agree that the court reporter may swear in the deponent remotely.

Plaintiffs’ counsel’s office will circulate access instructions and/or dial-in instructions in advance

of the deposition. Plaintiffs can be available any day in the next month that is convenient for Mr.

Velazquez except for December 12, 2024.

       If remote videoconferencing technology becomes unavailable for more than thirty

consecutive minutes during the deposition, then, at the option of Plaintiff’s counsel, Plaintiff may

either proceed telephonically (or by remote videoconference with Plaintiff’s counsel’s video




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                                                                                              Exhibit R
CASE 0:24-cv-00001-ECT-TNL                Doc. 115-18        Filed 12/10/24        Page 2 of 2




turned off) or may adjourn the deposition and reconvene the deposition to continue in-person or

by remote videoconference on a mutually convenient date.

       Plaintiff intends to record the testimony by videoconference technology, in addition to

recording the testimony by stenographic methods.


Dated: Dec. 2, 2024                                 s/Kira Kelley
                                                    Kira Kelley (#402932)
                                                    Climate Defense Project
                                                    P.O. Box 7040
                                                    Minneapolis, MN 55407
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                                                    ATTORNEY FOR PLAINTIFFS




                                                2



                                                                                         Exhibit R
